Case 1:19-cr-00098-CMA Document 213-1 Filed 09/14/22 USDC Colorado Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

 Criminal Case No. 19-cr-00098-CMA-1

 UNITED STATES OF AMERICA,

          Plaintiff,

 v.

 1.       LEONARD LUTON,

          Defendant.


                              FINAL ORDER OF FORFEITURE
                                FOR A SUBSTITUTE ASSET


          This matter is before the Court on the United States' Motion for Final Order of

 Forfeiture for a Substitute Asset, pursuant to 21 U.S.C. § 853(p) and Fed. R. Crim. P.

 32.2(e). The Court having reviewed said Motion and being fully advised in the premises

 finds:

      •   on February 13, 2020, a jury found defendant Leonard Luton guilty of Counts

          One through Three and Counts Five through Ten of the Superseding Indictment,

          in violation of 18 U.S.C. §§ 1349, 1341, and 2;

      •   a Preliminary Order of Forfeiture for a Substitute Asset was entered on October

          4, 2021, which forfeited defendant Leonard Luton’s interest in the 2008 Honda

          CR-V bearing VIN: 5J6RE48738L047092, seized on January 22, 2019, in Estes

          Park, Colorado;

      •   all known interested parties were provided an opportunity to respond and

          publication has been effected as required by 21 U.S.C. § 853(n)



                                               1
Case 1:19-cr-00098-CMA Document 213-1 Filed 09/14/22 USDC Colorado Page 2 of 2




    •   the time for any third party to file a petition has elapsed;

    •   no Petition for Ancillary Hearing has been filed;

    •   and it further appears there is cause to issue a forfeiture order under 21 U.S.C.

        § 853(p) and Fed. R. Crim. P. 32.2(e).

        NOW, THEREFORE, IT IS ORDERED, DECREED, AND ADJUDGED:

    •   the United States’ Motion for Final Order of Forfeiture for a Substitute Asset is

        GRANTED;

    •   judgment of forfeiture of the 2008 Honda CR-V seized on January 22, 2019, in

        Estes Park, Colorado, as a substitute asset shall enter in favor of the United

        States pursuant to 21 U.S.C. § 853(p) and Fed. R. Crim. P. 32.2(e), free from the

        claims of any other party; and

    •   the United States shall have full and legal title to the above listed asset and may

        dispose of said asset in accordance with law.

               SO ORDERED this _______ day of _____________________, 2022.

                                            BY THE COURT:


                                            ______________________________
                                            CHRISTINE M. ARGUELLO
                                            Senior United States District Judge




                                               2
